Case 1:17-cv-00635-RDM Document 193 Filed 05/03/24 Page 1 of 2




              PROPOSED ORDER
         Case 1:17-cv-00635-RDM Document 193 Filed 05/03/24 Page 2 of 2




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

   HE DEPU, et al.


                            Plaintiffs,
   v.                                             Case No. 1:17-cv-00635-RDM

   OATH HOLDINGS, INC., et al.                     Judge Randolph D. Moss


                            Defendants.

                                            ORDER

        UPON consideration of the Joint Motion to Dismiss Plaintiffs’ Third Amended

Complaint filed by Defendants Oath Holdings, Inc., Michael Callahan, Ronald Bell, the Estate of

Harry Wu, Laogai Research Foundation, Laogai Human Rights Organization, and Impresa Legal

Group (collectively “Defendants”), Plaintiffs’ opposition, any reply, and the arguments of

counsel, if any, it is hereby

        ORDERED that for the reasons argued by Defendants, their Joint Motion to Dismiss

Plaintiffs’ Third Amended Complaint is GRANTED; and it is further

        ORDERED that all claims against Defendants contained within the Third Amended

Complaint are dismissed in full and with prejudice.

        DONE and ORDERED this the ___ day of ____________________, 2024.




                                             __________________________________
                                             Judge Randolph D. Moss
